  NameCase   2:17-cv-08220-DMG-SK Document
        and address:                                       80 Filed 12/11/19 Page 1 of 3 Page ID #:2114
JASON F. MEYER (SBN: 190800)
jmeyer@grsm.com
J. TODD KONOLD (SBN: 222616)
tkonold@grsm.com
ZORIK HARUTHUNIAN (SBN: 290815)
rharuthunian@grsm.com
GORDON REES SCULLY MANSUKHANI, LLP
101 W. Broadway Suite 2000, San Diego, CA 92101
Telephone: (619) 230-7468 Facsimile: (619) 696-7124
                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
AGRICOLA CUYUMA SA, CORPORACION AGRICOLA                         CASE NUMBER:
VINASOL SAC,                                                     2:17-cv-08220-DMG-SK
                                                  PLAINTIFF(S)
                               v.

CORONA SEES, INC., and CRITES SEED, INC.                                     NOTICE OF APPEARANCE OR
                                                                             WITHDRAWAL OF COUNSEL
                                                 DEFENDANT(S)

                                                      INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-01 for
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number"):
Name: Jason F. Meyer                                                            CA Bar Number: 190800
Firm or agency:     Gordon Rees Scully Mansukhani, LLP
Address:       101 W. Broadway Suite 2000, San Diego, CA 92101
Telephone Number:       (619) 230-7468                           Fax Number: (619) 696-7124
Email: jmeyer@grsm.com
Counsel of record for the following party or parties: Crites Seed, Inc.




G-123 (9/17)                          NOTICE OF APPEARANCE OR WITHDRAWAL OF COUNSEL                                       Page 1 of 2
                                                                                                         American LegalNet, Inc.
                                                                                                         www.FormsWorkFlow.com
      Case 2:17-cv-08220-DMG-SK Document 80 Filed 12/11/19 Page 2 of 3 Page ID #:2115

SECTION II - TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the following options:
        The attorney listed above has already appeared as counsel of record in this case and should have been added to the
        docket. The date of the attorney's first appearance in this case:
        The filing of this form constitutes the first appearance in this case of the attorney listed above. Other members of
        this attorney's firm or agency have previously appeared in the case.
        The filing of this form constitutes the first appearance in this case of the attorney listed above. No other members
        of this attorney's firm or agency have previously appeared in the case.
        By order of the court dated                              in case number                                  (see attached
        copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.
        This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
        U.S.C. § 1407 from the                       District of                      , where it was assigned case number
                                 . The attorney listed above is counsel of record in this case in the transferee district, and is
        permitted by the rules of the JPML to continue to represent his or her client in this district without applying for
        admission to practice pro hac vice and without the appointment of local counsel.
        On                              , the attorney listed above was granted permission to appear in this case pro hac vice
        before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation of that representation in this case before
        the District Court.
In addition, if this is a criminal case, please check the applicable box below. The attorney listed above is:
               USAO      FPDO        CJA Appointment        Pro Bono       Retained


SECTION III - TO REMOVE AN ATTORNEY FROM THE DOCKET
Notices of Electronic Filing will be terminated. Please select one of the following options:

        The attorney named above has already been relieved by the Court as counsel of record in this case and should
        have been removed from the docket. Date of the order relieving this attorney:                                .

        Please remove the attorney named above from the docket of this case; at least one member of the firm or agency
        named above, and at least one member of the Bar of this Court, will continue to serve as counsel of record for the
        party or parties indicated.
        (Note: if you are removing yourself from the docket of this case as a result of separating from a firm or agency, you
        should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 (“Notice of Change of Attorney Business or Contact
        Information”), concerning your obligations to notify the Clerk and parties of changes in your business or contact
        information.)
        The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
        filing. Date party was dismissed:                              .

        The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
        filed:                          .


SECTION IV - SIGNATURE

I request that the Clerk update the docket as indicated above.

        Date: 12/11/2019                               Signature: /s/ Jason F. Meyer
                                                       Name:        Jason F. Meyer
G-123 (9/17)                           NOTICE OF APPEARANCE OR WITHDRAWAL OF COUNSEL                                       Page 2 of 2
                                                                                                          American LegalNet, Inc.
                                                                                                          www.FormsWorkFlow.com
                          Case 2:17-cv-08220-DMG-SK Document 80 Filed 12/11/19 Page 3 of 3 Page ID #:2116
                                          Agricola Cuyuma SA, Corporacion Agricola Vinasol SAC v. Corona Seeds, Inc., et al.
                                          USDC, Central District, Case No. 2:17-cv-08220-DMG-SK

                                      1                              CERTIFICATE OF SERVICE
                                      2          I am a resident of the State of California, over the age of eighteen years, and
                                      3   not a party to the within action. My business address is: Gordon Rees Scully
                                      4   Mansukhani, LLP, 101 W. Broadway, Suite 2000, San Diego, CA 92101, my
                                      5   electronic mail address is wdoolittle@grsm.com. On December 11, 2019, I served
                                      6   the foregoing document(s) as follows:
                                      7                 NOTICE OF APPEARANCE OF JASON F. MEYER
                                      8    BY ELECTRONIC SERVICE THROUGH THE CM/ECF SYSTEM
                                             which automatically generates a Notice of Electronic Filing at the time said
                                      9      document is filed to all CM/ECF Users who have appeared in this case.
                                             Service with this NEF constitutes service pursuant to FRCP 5(b)(E).
                                     10
                                     11          I declare under penalty of perjury under the laws of the United States of
Gordon Rees Scully Mansukhani, LLP




                                     12   America that I am employed in the office of a member of the Bar of this Court at
   101 W. Broadway, Suite 2000
       San Diego, CA 92101




                                     13   whose direction the service was made.
                                     14          Executed on December 11, 2019 at San Diego, California.
                                     15
                                     16                                                    Woody Doolittle
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28


                                                                         CERTIFICATE OF SERVICE
